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United States Bankruptcy Court
Southern District of Florida

Inre Lorenzo Andrew Allen Case No,
Debtor(s) Chapter 13
DECLARATION REGARDING PAYMENT ADVICES .

Debtor:

oO Copies of all payment advices, pay stubs or other evidence of payment received by the debtor from any employer within 60
days prior to the filing of the bankruptcy petition are attached. (Note: If you worked some, but not all of the 60 days prior,
attach copies of any and all received and provide explanation that you didn't work the full 60 days.

)

oO Copies of all payment advices are not attached because the debtor had no income from any employer during the 60 days
prior to filing the bankruptcy petition.

z Copies of all payment advices are not attached because the debtor:

QO receives disability payments
QO is unemployed and does not receive unemployment compensation
Oo receives Social Security payments
Oo receives a pension
0 does not work outside the home
a is self employed and does not receive payment advices
oO None of the statements above apply, however, the debtor is unable to timely provide some or all copies of payment advices or

other evidence of payment received
Explain:

Joint Debtor (if applicabie):

0

Copies of payment advices, pay stubs or other evidence of payment received by the joint debtor from any employer within 60
days prior to the filing of the bankruptcy petition are attached, (Note: If you worked some, but not all of the 60 days prior,
attach copies of any and all received and provide explanation that you didn't work the full 60 days.

)

Copies of payment advices are not attached because the joint debtor had no income from any employer during the 60 days
prior to filing the bankruptcy petition.

Copies of payment advices are not attached because the joint debtor:
receives disability payments

is unemployed and does not receive unemployment compensation
receives Social Security payments

receives a pension

does not work outside the home

is self employed and does not receive payment advices

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None of the statements above apply, however, the joint debtor is unable to timely provide some or all copies of payment
advices or other evidence of payment received
Explain:

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NOTE: When submitting copies of evidence of payment such as pay stubs or payment advices, it is your responsibility to redact

(blackout) any social security numbers, names of minor children, dates of birth or financial account numbers before attaching for
Jiling with the court. See Local Rule 5005-1(A) (2),

EK pet tte By A “ Milas Date:

Lorenzo Andre Allen
Signature of Attorney or Debtor

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